 Case 11-27934       Doc 722 Filed 12/21/12 Entered 12/21/12 14:13:28               Desc Main
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Dated: December 19, 2012
The following is SO ORDERED:


                                                  ________________________________________
                                                               Paulette J. Delk
                                                     UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
______________________________________________________________________________
IN RE:
       ARNOLD R. DORMER, JR.                    Case No. 11-27934-PJD

              Debtor.                                      Chapter 11

______________________________________________________________________________

    ORDER GRANTING MOTION TO ADMINISTRATIVELY CLOSE CASE PENDING
                   APPLICATION FOR ENTRY OF DISCHARGE
______________________________________________________________________________

       Upon the Motion to Administratively Close Case filed on behalf of the Debtor, the Court

having considered the Motion, and based on the record as a whole, it appears that the Application

should be granted.
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         IT IS, THEREFORE, ORDERED that this case be and is hereby administratively closed

pending the Debtor's Application for Entry of Discharge.

Approved by:



/s/ Russell W. Savory

Russell W. Savory (12786)
88 Union Avenue, 14th Floor
Memphis, TN 38103
901-523-1110


Parties to be served:



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